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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION

JEFFREY D. COOPER,

 

Plaintiff, CIVIL ACTION NO:
Vs.
CITY OF KENNESAW, GEORGIA JURY TRIAL DEMANDED
Defendant
COMPLAINT

Plaintiff Jeffrey Cooper ("Cooper") files this Complaint against the City of
Kennesaw, Georgia ("Kennesaw”) showing the Court as follows:

1,

Cooper is a citizen of Georgia. He is a resident of 325 Stone Castle Pass SW

Atlanta, GA 30331.

2.
City of Kennesaw, Georgia is a municipal corporation that was established in
1887, by an 1887 charter which changed the municipal Corporation‘s name to

Kennesaw from “Big Shanty.” The City of Kennesaw is located in Cobb County
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with the address 2529 J.O. Stephenson Ave., Kennesaw, GA 30144 in the Atlanta

division of the United States District Court for the Northern District of Georgia.

This case involves Federal questions under Title VII, 42 USC 2000e, and 42
USC 1983, and therefore the court has jurisdiction over this matter pursuant to 28

USC 1331.

Title VII contains its own venue provision, 42 USC 2000e-5(f)(3) which is
the exclusive venue provision for all Title VII actions. Under this provision, venue
is proper in the district where plaintiff worked, and where the plaintiff experienced
the discrimination. All of the relevant events in this case occurred in Cobb County,

Georgia.

FACTS

Cooper was hired by the City of Kennesaw on December 9, 2013. He at first
was a part time custodian within the City‘s building services department. In

approximately July 2015, Cooper became a full-time Parks Worker I for the city of
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Kennesaw. Cooper was been promoted to a crew leader for the Parks and Recreation

department in April 2016.

After receiving the promotions noted, and receiving generally good feedback
on his performance up until February 2018, Cooper then began to be supervised by
Billy Warren, who became Operations Manager for the Kennesaw Parks and
Recreation Department. Warren is black and he has served in Buildings Operations
for the City of Atlanta and Fulton County government, and apparently for the City

of Morrow as it’s Public Works Director.

Cooper is white.

Immediately upon arriving in his position as Operations Manager for the
Kennesaw Parks and Recreation Department, Warren began harassing Cooper
through actions he took as Kennesaw’s Operations Manager of Parks and Recreation
Department against Cooper. The City of Kennesaw endorsed Warren’s harassment
of Cooper, and Warren‘s campaign of formally documenting petty offenses that

Cooper had supposedly committed.
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The City of Kennesaw and Warren‘s adverse employment actions against
Cooper were based in part on Cooper’s being a member of the Caucasian race.
Because Warren intentionally relied on Cooper’s race in choosing to single out
Cooper for extraordinary discipline, Warren’s adverse employment actions against
Cooper violated Title VI, and those actions were actions by the city of Kennesaw

and violations by the City of Kennesaw of Title VII.
10.

Cooper’s race need not be the sole or primary cause of the adverse
employment actions the City of Kennesaw inflicted upon him for them to be
actionable under Title VII. Indeed, even if the city of Kennesaw points to some other
factor that it contains played a more important factor in the decisions to take adverse
employment actions against Cooper, this is no defense that prevails against the Title
VII claim, because Cooper’s race was a but-for cause of the unwarranted discipline

Cooper received.
11.
Warren’s harassment of Cooper included:

Verbal warnings for minor infractions on February 27, 2018 and March 20,

2018, a written write up on April 17, 2018, another verbal counseling on
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December 5, 2018 falsely accusing Cooper of damaging a truck and then more
counseling on December 10 and 11th 2018, December 27, 2018, December

31, 2018, and January 14, 2019, all over petty issues.

12.

The individual harassment Cooper suffered was quite frequent. He was
singled out specifically by Warren as a white man for constant unwarranted scrutiny
and constant threats of firing Cooper. The conduct of the City of Kennesaw must be
evaluated with reference to its actions committed through African American

supervisor, Warren, relative to the individual white man Cooper.
13.

The City of Kennesaw is vicariously liable to Cooper for the actions of Warren
because Warren took multiple tangible employment actions, all adverse against
Cooper, specifically as Cooper supervisor, which would not have been taken but for

Cooper’s race.
14.

Cooper complained to Kennesaw‘s HR department and did complain that the
treatment he was receiving was based on race. In response, Warren retailiated by
increasing the number of issues he had with Cooper’s work and the frequency of

their negative interactions day by day, week by week, month by month. In these
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interactions, Warren increased the volume and the intensity of the conversations and

included abundant cursing at Cooper.
15.

The discipline Cooper received was not legitimate, and Warren’s raising of
the stakes of discipline to multiple threats to fire Cooper made it intolerable for
Cooper to continue working under Warren. Therefore, facing illegitimate charges
and suffering intolerable anxiety in response to the abusive, threatening way Warren

delivered those charges, Cooper resigned on January 14, 2019.
16.

Cooper’s forced resignation was a constructive discharge of Cooper by the

City of Kennesaw.
17.

Cooper had let it be known to the city of Kennesaw that he would be resigning
as of February 1, 2019 because of the ongoing illegitimate issues Warren was raising
by a memo dated January 11, 2019. The intense response Warren had to the memo

caused Cooper to accelerate his resignation to January 14, 2019.

18.
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Cooper's resignation was because of Warren‘s “constant harassment, talking
down to, threatening of my job and verbal abuse that I receive on an almost daily
basis from my operations manager, Billy Warren.” These facts support the fact that

Cooper was constructively discharged.

19.

The City of Kennesaw constructively terminated Plaintiff's employment in
violation of Title VII, and prior to the terminated engaged in retaliation under Title
VII for Cooper’s exercising his legal rights to speak particularly about the racial
discrimination he was experiencing, and the apparent policy the City of Kennesaw
had undertaken intended to change the racial makeup of its workforce to include
more blacks and less whites.

20.

As a direct result of Defendant's actions, Cooper lost wages, the value of
benefits, future income, the value of future fringe benefits, and opportunities for
advancement, all in amounts to be proven at trial. And, Defendant acted
intentionally to harm Cooper, and is therefore liable to Cooper for punitive
damages in an amount to be determined in the enlightened conscience of the jury.

COUNT ONE—TITLE VII CLAIMS FOR RACE and COLOR
DISCRIMINATION

21.
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The City of Kennesaw unlawfully discriminated against Cooper as to the
terms and conditions of his employment because of his race and/or color in violation
of 42 USC 2000e, by imposing racially-based discipline and harassment on Cooper
for an extended period of time.

22.

Cooper suffered damages as a result of the City of Kennesaw’s race and color

discrimination while he was employed by the City of Kennesaw.
23,

As a result of the City of Kennesaw’s discriminatory conduct, Cooper
suffered lost compensation and benefits including paid time off, in an amount to
be proven at trial.

24.

As a result of the City of Kennesaw’s discriminatory conduct, Cooper

suffered extreme emotional distress and mental anguish.
25.

Cooper is entitled to a judgment against the City of Kennesaw for the
compensation he lost and for compensatory damages for the emotional distress and
mental anguish he suffered as a result of the City of Kennesaw discriminatory
conduct while Cooper was employed by the City of Kennesaw, in an amount to be

proven at trial.
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26.

In addition, because of Kennesaw's discriminatory conduct
constructively discharged Cooper by targeting him to be fired with no escape,
Cooper, suffered lost wages and benefits, and significant damages to his
future employment prospects after he was constructively discharged.

27.

Accordingly, Cooper is entitled to recover back pay and benefits, front pay,
compensatory damages, punitive damages, attorney's fees, and other relief under
Title VII and all other federal statutes providing remedies for violations of
Title VIL from Kennesaw.

COUNT TWO—TITLE VII RETALIATION
28.

By complaining about how he was being treated by Warren to the City of
Kennesaw’s HR and to others in the management structure of the City of
Kennesaw, particularly about the race and color discrimination he was
experiencing as an employee of Kennesaw, Cooper was engaging in protected
activity under Title VII.

29,
Instead of stopping its discriminatory practices, the City of Kennesaw intensified

its adverse employment actions against Cooper and gave Warren free reign to
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harass and threaten Cooper more, which Warren then did all the way up to
Cooper's termination.
30.

Cooper is entitled to a judgment against the City of Kennesaw for back pay
and benefits, front pay, compensatory and punitive damages, attorney's fees and
all other appropriate damages, remedies, and other relief available under Title VI
for retaliation and under all federal statutes providing remedies for violations
of Title VII constituting retaliation.

COUNT THREE—PUNITIVE DAMAGES
31.

The City of Kennesaw has acted with a specific intent to harm Cooper such
that it is liable to Cooper for punitive damages without cap in an amount sufficient
to deter the City of Kennesaw from ever again acting with specific intent to ham
another of its employees or another person.

32.

The City of Kennesaw through Warren discriminated against Cooper. Warren

was high up enough in the city of Kennesaw‘s hierarchy, so that Warren conduct is

sufficient to impose punitive damages.

33,
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In addition, and alternatively management of the city of Kennesaw
countenanced or approved of Warren‘s discriminatory behavior toward Cooper,
making the City of Kennesaw liable to Cooper for punitive damages.

Prayer for relief

WHEREFORE, Cooper demands relief against the City of Kennesaw as
follows:

1. A judgment for Cooper against the City of Kennesaw for (a) backpay
from January 14, 2019 until the time of trial, in an amount to be proven at trial,
plus the value of the benefits Cooper lost as a result of his departure from
employment by the City of Kennesaw in an amount to be proven at trial;

(b) Front pay as contemplated by Title VII;

(c) Compensatory damages for emotional distress caused by the racial

discrimination, harassment, threats and retaliation Cooper suffered at the

hands of the City of Kennesaw;

(d) Special damages for all of the out-of-pocket costs and expenses Cooper

have incurred and has and will incur as a proximate result of Defendant's

discriminatory conduct;

(e) Attorneys’ fees calculated and awarded based on the reasonable rates for

the time counsel has expended, enhanced by the lodestar analysis as the Court

deems appropriate;
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(f) Punitive damages against the City of Kennesaw in an amount to be
determined in the enlightened conscience of the jury;

2. Trial by Jury,

3. Such other and further relief as the Court deems just and proper.

Respectfully submitted this 1st day of June, 2021.

DALZIEL LAW FIRM

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